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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

 GALDERMA LABO RA TORIES L.P.,                       )
 GALDERMA S.A., and NESTLE SKIN                      )
 HEALTHS.A.,                                         )
                                                     )
                           Plaintiffs,               )
                                                     )
         V.                                          )   C.A. No. 17-1783 (RGA)
                                                     )
 TEVA PHARMACEUTICALS USA, INC.,                     )
                                                     )
                           Defendant.                )

                                         SCHEDULING ORDER


         This   _J_ day of fe\>             , 2018, the Court having conducted an initial Rule 16(b)

 scheduling conference pursuant to Local Rule 16.1 (b ), and the parties having determined after

 discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation,

 or binding arbitration;

         IT IS ORDERED that:

         1.      Rule 26(a)( 1) Initial Disclosures. Unless otherwise agreed to by the parties, the

 parties shall make their initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(l)

 within five days of the date of this Order.

         2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

 parties, and to amend or supplement the pleadings, shall be filed on or before February 15,

 2018.

         3.      Discovery.

                 a.        Discovery Cut Off. All fact discovery in this case shall be initiated so that

 it will be completed on or before December 14, 2018.
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                  b.     Document Production. Document production shall be substantially

 complete by May 31, 2018.

                  c.     Requests for Admission. A maximum of 45 requests for admission are

 permitted for each side.

                  d.     Interrogatories. A maximum of 25 interrogatories, including contention

 interrogatories, are permitted for each side.

                  e.     Depositions.

                         i.      Limitation on Hours for Deposition Discovery. Each side is limited

  to a total of I 00 hours of taking testimony by deposition upon oral examination. In the event

 that Defendant chooses to depose all named inventors of all the patents-in suit, the parties agree

 to work in good faith regarding any reasonable extension on the number of hours of deposition

  testimony. Any party may, pursuant to Federal Rules of Civil Procedure (30)(a)(2), seek leave

  of Court to take additional hours of deposition testimony.

           If a witness testifies only in a foreign language for any deposition, the party producing

 said witness shall inform the party taking the deposition of that fact at least approximately nine

 (9) weeks prior to the date of the deposition. For any such witness who will testify in a foreign

 language, the deposition will be extended by up to three (3) hours for a total of ten hours on the

 record.

                         ii.     Location of Depositions. Any party or representative (officer,

 director, or managing agent) of a party filing a civil action in this district court must ordinarily

  be required, upon request, to submit to a deposition at a place designated within this district.

 Exceptions to this general rule may be made by order of the Court or by agreement of the




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  parties. A defendant who becomes a counterclaimant, cross-claimant, or third-party plaintiff

  shall be considered as having filed an action in this Court for the purpose of this provision.

                f.      Discovery Matters and Disputes Relating to Protective Orders. Should

 counsel find they are unable to resolve a discovery matter or a dispute relating to a protective

 order, the parties involved in the discovery matter or protective order dispute shall contact the

 Court's Case Manager to schedule an in-person conference/argument. Unless otherwise ordered,

 by no later than forty-eight hours prior to the conference/argument, the party seeking relief shall

 file with the Court a letter, not to exceed three pages, outlining the issues in dispute and its

 position on those issues. By no later than twenty-four hours prior to the conference/argument,

 any party opposing the application for relief may file a letter, not to exceed three pages, outlining

 that party's reasons for its opposition. Should any document(s) be filed under seal, a courtesy

 copy of the sealed document(s) must be provided to the Court within one hour of e-filing the

 document(s).

        If a discovery-related motion is filed without leave of the Court, it will be denied without

 prejudice to the moving party's right to bring the dispute to the Court through the discovery

 matters procedures set forth in this Order.

        4.      Application to Court for Protective Order. The parties will submit a Proposed

 Protective Order to the Court by February 7, 2018.

        5.      Papers Filed Under Seal. When filing papers under seal, counsel shall deliver to

 the Clerk an original and one copy of the papers. A redacted version of any sealed document

 shall be filed electronically within seven days of the filing of the sealed document.

        6.      Courtesy Copies. The parties shall provide to the Court two courtesy copies of all

 briefs and one courtesy copy of any other document filed in support of any briefs (i.e.,




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 appendices, exhibits, declarations, affidavits etc.). This provision also applies to papers filed

 under seal.

        7.      Claim Construction Issue Identification. On or before April 12, 2018, the parties

 shall exchange a list of those claim term(s)/phrase(s) that they believe need construction and

their proposed claim construction of those term(s)/phrase(s). This document will not be filed

 with the Court. Subsequent to exchanging that list, the parties will meet and confer to prepare a

 Joint Claim Construction Chart to be filed no later than May 3, 2018. The Joint Claim

 Construction Chart, in Word or WordPerfect format, shall be e-mailed simultaneously with filing

 to rga_civil@ded.uscourts.gov. The parties' Joint Claim Construction Chart should identify for

 the Court the term(s)/phrase(s) of the claim(s) in issue, and should include each party's proposed

 construction of the disputed claim language with citation(s) only to the intrinsic evidence in

 support of their respective proposed constructions. A copy of the patent(s) in issue as well as

 those portions of the intrinsic record relied upon shall be submitted with this Joint Claim

 Construction Chart. In this joint submission, the parties shall not provide argument.

        8.      Claim Construction Briefing. The Plaintiffs shall serve, but not file, their opening

 brief, not to exceed 20 pages, on May 24, 2018. The Defendant shall serve, but not file, its

 answering brief, not to exceed 30 pages, on June 18, 2018. The Plaintiffs shall serve, but not

 file, their reply brief, not to exceed 20 pages, on July 2, 2018. The Defendant shall serve, but not

 file, its sur-reply brief, not to exceed 10 pages, on July 16, 2018. No later than July 31, 2018, the

 parties shall file a Joint Claim Construction Brief. The parties shall copy and paste their unfiled

 briefs into one brief, with their positions on each claim term in sequential order, in substantially

the form below.




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                           JOINT CLAIM CONSTRUCTION BRIEF

 I.     Agreed-upon Constructions

 II.    Disputed Constructions

 A.     [TERM 1]

        1.    Plaintiffs Opening Position
        2.    Defendant's Answering Position
        3.    Plaintiffs Reply Position
        4.    Defendant's Sur-Reply Position

 B.     [TERM 2]

        5.    Plaintiffs Opening Position
        6.    Defendant's Answering Position
        7.    Plaintiffs Reply Position
        8.    Defendant's Sur-Reply Position

 Etc. The parties need not include any general summaries of the law relating to claim

 construction. If there are any materials that would be submitted in an appendix, the parties shall

 submit them in a Joint Appendix.

        9.       Hearing on Claim Construction. Beginning at 9:00 a.m. on August 22, 2018, the

 Court will hear argument on claim construction. Absent prior approval of the Court (which, if it

 is sought, must be done so by joint letter submission no later than the date on which answering

 claim construction briefs are due), the parties shall not present testimony at the argument, and the

 argument shall not exceed a total of three hours.

        10.      Defendant's Initial Invalidity Contentions for U.S. Patent No. 9,782,425.

 Defendant will serve preliminary invalidity contentions for U.S. Patent No. 9,782,425 on or

 before March 1, 2018.

        11.      Supplementation of Contentions. The Parties shall file supplementations to any

 infringement or invalidity contention on or before September 17, 2018. Thereafter

 supplementation shall be made in accordance with Rule 26.


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        12.     Disclosure of Expert Testimony.

                a.      Expert Reports. For the party who has the initial burden of proof on the

 subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or before

 January 15, 2019. The supplemental disclosure to contradict or rebut evidence on the same

 matter identified by another party is due on or before February 19, 2019. Reply expert reports

 from the party with the initial burden of proof are due on or before March 5, 2019. No other

 expert reports will be permitted without either the consent of all parties or leave of the Court.

 Along with the submissions of the expert reports, the parties shall advise of the dates and times

 of their experts' availability for deposition. Depositions of experts shall be completed on or

 before March 26, 2019.

                b.      Objections to Expert Testimony. To the extent any objection to expert

 testimony is made pursuant to the principles announced in Daubert v. Merrell Dow Pharm., Inc.,

 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be made by

 motion no later April 11, 2019, unless otherwise ordered by the Court.

        13.     Case Dispositive Motions. No case dispositive motions under Rule 56 shall be

 filed without leave of Court.

        14.     Applications by Motion. Except as otherwise specified herein, any application to

 the Court shall be by written motion. Any non-dispositive motion should contain the statement

 required by Local Rule 7 .1.1.

        15.     Pretrial Conference. On May 10, 2019, the Court will hold a Rule 16(e) final

 pretrial conference in Court with counsel beginning at 9:00 a.m. The parties shall file a joint

 proposed final pretrial order in compliance with Local Rule 16.3(c) no later than 5 p.m. on the

 third business day before the date of the final pretrial conference. Unless otherwise ordered by




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the Court, the parties shall comply with the timeframes set forth in Local Rule 16.3(d) for the

 preparation of the proposed joint final pretrial order.

            16.   Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall

be limited to three in limine requests, unless otherwise permitted by the Court. The in limine

 request and any response shall contain the authorities relied upon; each in limine request may be

 supported by a maximum of three pages of argument and may be opposed by a maximum of

three pages of argument, and the party making the in limine request may add a maximum of one

additional page in reply in support of its request. If more than one party is supporting or

opposing an in limine request, such support or opposition shall be combined in a single three

 page submission (and, ifthe moving party, a single one page reply). No separate briefing shall be

submitted on in limine requests, unless otherwise permitted by the Court.

            17.   Jury Instructions, Voir Dire, and Special Verdict Forms. This case is set for a

 bench trial.

            18.   Trial. This matter is scheduled for a 3 day bench trial beginning at 8:30 a.m. on

May 28, 2019. The trial will be timed, as counsel will be allocated a total number of hours in

which to present their respective cases.

            19.   ADR Process. This matter is referred to a magistrate judge to explore the

possibility of alternative dispute resolution.




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